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                        UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                        CRIMINAL ACTION
VERSUS                                          NO. 08-140

MOSE JEFFERSON                                 SECTION "B” (1)
RENEE GILL PRATT

                             ORDER AND REASONS

     Before the Court is Defendant Renee Gill Pratt’s Motion to

Sever Count One. (Rec. Doc. No. 410). The Motion is opposed. (Rec.

Doc. No. 429).      Considering the pleadings, applicable law, oral

argument of the parties, for oral reasons given at prior hearing and

for reasons that follow, Defendant’s Motion to Sever is DENIED.

     On March 5, 2010, the grand jury returned a Third Superseding

Indictment against Defendants Mose Jefferson and Renee Gill Pratt

alleging in Count 1 a conspircy to violate the Racketeer Influenced

and Corrupt Organizations Act (“RICO”) in violation of 18 U.S.C. §

1962(d).   That    indictment   specifically     alleged     that   Defendants

through    their   various   non-profit   and    for-profit      entities       and

political positions engaged in a pattern of racketeering activity

for the primary purpose of exercising and preserving power over and

within the government of the State of Louisiana, the City of New

Orleans, Orleans Parish, and elsewhere, for the financial and

political benefits of Defendants.

     Defendant argues that the Government cannot charge multiple


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conspiracies in a single count of an indictment. Specifically, she

asserts that the Third Superceding Indictment in Count One alleges

that Renee Gill Pratt assisted in obtaining several appropriations

that benefitted her significant other and his business in 1999-2002

and     then    charged    her     separately       in   the   same      count    with

misappropriating vehicles donated to the City of New Orleans after

Hurricane Katrina to her own use.             Ms. Pratt maintains that these

acts have nothing to do with one another and that to the extent that

the acts show a conspiracy to violate RICO-as charged in the

indictment–they are clearly part of separate conspiracies, and

should have been charged separately. As relief, she asks for

dismissal or separation of the allegations of various conspiracies

and try said charges in seriatim.

        Identical motions have already been denied.                   In the Oct. 8,

2009 Order and Reasons the court found Count 1 did not impermissibly

charge multiple conspiracies; that even if it had, the issue is a

question of fact for the jury, and that the charging document

satisfies all the criteria dictated by Richerson and Pena-Rodriguez.

See Rec. Doc. No. 238.        Absent new material issues of fact, law, or

argument, the instant motion does not warrant a different result.

        Defendant’s    motion      is   premature    because    the     question      of

multiple conspiracies versus a single conspiracy is a fact question

for the jury.       See United States v. Morgan, 117 F.3d 849, 858 (5th

Cir. 1997).      If Defendant chooses to pursue the multiple conspiracy

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theory    as   a     defense,     she   can       request      a   multiple        conspiracy

instruction        to   the    jury   such    as      the    Fifth    Circuit’s      pattern

“Pinkerton” instruction.1             See United States v. Stowell, 947 F.2d

1251, 1258 (5th Cir. 1991), cert. denied, 112 S.Ct. 1269 (1992).

      A   conviction          based   upon        a   duplicitous        indictment      that

prejudices a defendant may be subject to reversal.                           United States

v. Sharpe, 193 F.3d 852, 870 (5th Cir. 1999).                      An indictment may be

duplicitous if it joins in a single Count two or more distinct

offenses.      Id.      The government may include several acts within a

single Count where those actions represent a single, continuing

scheme    provided:       “the    indictment          (1)     notifies       the   defendant

adequately of the charges against him; (2) does not subject the

defendant to double jeopardy; (3) does not permit prejudicial

evidentiary rulings at trial; and (4)does not allow the defendants

to be convicted by a non-unanimous verdict.”                       Id.

      To prove a conspiracy, the government must prove beyond a


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       Fifth Circuit Pattern Jury Instruction 2.22 reads as follows:
                 CONSPIRATOR’S LIABILITY FOR SUBSTANTIVE COUNT

A conspirator is responsible for offenses committed by another [other]
conspirator[s] if the conspirator was a member of the conspiracy when the
offense was committed and if the offense was committed in furtherance of, or
as a foreseeable consequence of, the conspiracy.
•
Therefore, if you have first found the defendant guilty of the conspiracy
charged in Count ___ and if you find beyond a reasonable doubt that during the
time the defendant was a member of that conspiracy, another [other]
conspirator[s] committed the offense[s] in Count[s] ___ in furtherance of or
as a foreseeable consequence of that conspiracy, then you may find the
defendant guilty of Count[s] ___, even though the defendant may not have
participated in any of the acts which constitute the offense[s] described in
Count[s] ___.

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reasonable doubt “that (1) a common agreement or conspiracy existed;

(2) the accused knew of the conspiracy; and (3) the accused, with

knowledge, voluntarily joined the conspiracy.” United States v.

Richerson, 833 F.2d 1147, 1152 (5th Cir. 1987).                      The principal

considerations in counting the number of conspiracies are (1) the

existence of a common goal, (2) the nature of the scheme, and (3)the

overlapping of participants in the various dealings.                 United States

v. Pena-Rodriguez, 110 F.3d 1120, 1126 (5th Cir. 1997).                          When

examining the number of conspiracies, the Fifth Circuit has also

reviewed the scope of the conspiracy, which is judged by the

following    five   factors:        (1)   time,     (2)    persons      acting      as

co-conspirators,     (3)   the    statutory     offenses        charged     in      the

indictments, (4) the overt acts charged by the government or any

other description of the offense charged which indicates the nature

and scope of the activity which the government sought to punish in

each case, and (5) places where the events alleged as part of the

conspiracy took place.     Id. at n.4; and United States v. Mitchell,

777 F.2d 248, 260 (5th Cir. 1986)(finding that the “similarity of

time, persons, offenses, places and overt acts among the shipments

[of narcotics]” pointed to a single RICO conspiracy).

     Where   the    evidence    demonstrates    that      all   of    the   alleged

co-conspirators directed their efforts towards the accomplishment

of a single goal or common purpose, then a single conspiracy exists.

Richerson, 833 F.2d at 1153.        The common goal factor requires one

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objective, or set of objectives, or an overall objective to be

achieved by multiple actions.         Id.   The Fifth Circuit in Richerson

listed a variety of “common purposes” that had been previously

identified    by   the   court   in   various   cases,    including     “mutual

enrichment” in a mail fraud conspiracy case.          Id.   Similarly, after

recognizing the broadness of the common goal test,2 the Richerson

court held that it could not declare incorrect “the Government

statement . . . that the common goal driving all members of the

single conspiracy . . .      was their personal gain through the fraud”

of an oil drilling contractor.         Id. (emphasis added)(finding that

the “overall plan was for all members to obtain some reward for

their participation in the conspiracy;” the contracting company’s

employees “realized personal gains by obtaining money and property

through kickbacks, and the vendors realized gains by locking in

millions of dollars of business through bribes”).

      Regarding nature of the scheme, where the activities of one

aspect of the scheme are necessary or advantageous to the success



      2
       After presenting the laundry list of common goals, the Richerson court
observed, “Given these broad ‘common goals’ the common objective test may have
become a mere matter of semantics.” Richerson, 833 F.3d at 1153 (common goals
identified in previous cases include: (1) the passing of a large quantity of
counterfeit bills over a period of time; (2) a series of staged automobile
collisions involving a varying pattern of participants, in different
locations, over an extended time period; (3) a plan, over three years in
process, with varying participants, to buy cocaine; and (4) in a mail fraud
conspiracy case, “mutual enrichment” or the amassing of money by false
representations about the value of Llano ore and its commercial capabilities).
See also Pena-Rodriguez, 110 F.3d at 1127 n.6 (quoting Richerson
supra).

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of another aspect of the scheme or to the overall success of the

venture, where there are several parts inherent in a larger common

plan, the existence of a single conspiracy will be inferred.

Richerson, 833 F.2d at 1154. See also U.S. v. Wilson, 116 F.3d 1066,

1075-76 (5th Cir. 1997)(rev’d on other grounds in U.S. v. Brown, 161

F.3d 256 (5th Cir. 1998))(stating that Courts look at “the degree

of interdependence of the actions of members of the conspiracy-that

is, whether the activities of one aspect of the of the scheme are

necessary or advantageous to the success of another aspect of the

scheme”).

     The    final    conspiracy    factor    of   overlapping       participants

examines    “the    interrelationships      between    the   participants          and

various parts of the scheme.”         Richerson, 833 F.2d at 1154.           It is

not required that every member participate in every transaction to

find a single conspiracy, and “where the memberships of two criminal

endeavors overlap, a single conspiracy may be found.”                Id.   Parties

who knowingly participate with core conspirators to achieve a common

goal may be members of an overall conspiracy.             Id.      The members of

a conspiracy which functions through a division of labor need not

have an awareness of the existence of the other members, or be privy

to the details of each aspect of the conspiracy.             Id. (finding that

all the Government had to show was that co-conspirators were

conspiring with a core conspirator).

     A conspiracy may exist even if a conspirator does not agree to

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commit or facilitate each and every part of the substantive offense,

Salinas    v.    United    States,    522        U.S.   52,    63     (1997),    and    “the

government need not always demonstrate an actual agreement among the

various conspirators, or even actual knowledge of each other to

establish a single conspiracy.” United States v. Mitchell, 777 F.2d

248, 259 (5th Cir. 1986)(citing United States v. Sutherland, 656

F.2d 1181, 1190-91 (5th Cir. 1981), cert. denied, 455 U.S. 949

(1982)).     While the partners in the criminal plan must agree to

pursue the same criminal objective and may divide up the work, each

member is responsible for the acts of each other. Salinas, 522 U.S.

at   63.     If    conspirators       have       a   plan     which    calls     for    some

conspirators to perpetrate the crime and others to provide support,

the supporters are as guilty as the perpetrators.                         Id. at 64. In

fact, a person may even be liable for conspiracy even though he was

incapable       of committing the substantive offense.                   Id.

        In some cases the interdependent nature of the criminal

enterprise is such that each conspirator had to have realized that

the conspiracy extended beyond his individual role. Sutherland, 656

F.2d at 1190-91.          Id. Such conspiracies are often referred to as

“chains” because “the success of the criminal scheme depends on the

success of each link in the chain.”                     Id. at 1191.           Individuals

associating       themselves   with    a     chain      conspiracy       know    that     the

conspiracy “has a scope and that for its success it requires an



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organization         wider   than    may   be      disclosed    by      his      personal

participation.”        Id.

        The RICO conspiracy provision, 18 U.S.C. § 1962(d), is more

comprehensive than the general conspiracy offense and broadened

conspiracy coverage by omitting the requirement of an overt act.

Id.     The RICO conspiracy statute provides:               “It shall be unlawful

for any person to conspire to violate any of the provisions of

subsection (a), (b),or (c) of this section.” 18 U.S.C. § 1962(d).

Subsection (a) involves the unlawful investment into an enterprise

of proceeds obtained from a pattern of racketeering; subsection (b)

makes it unlawful for a person to acquire or maintain an interest

in or control of an enterprise through a pattern of racketeering

activity;      and    subsection    (c)    makes     it   unlawful      for     a   person

employed     by   or    associated    with      an   enterprise        to     conduct      or

participate in the conduct of the enterprise’s affairs through a

pattern of racketeering activity.3 It is sufficient under RICO that

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         The full text of 18 U.S.C. § 1962 is as follows:
        (a) It shall be unlawful for any person who has received any income
        derived, directly or indirectly, from a pattern of racketeering
        activity or through collection of an unlawful debt in which such
        person has participated as a principal within the meaning of section
        2, title 18, United States Code, to use or invest, directly or
        indirectly, any part of such income, or the proceeds of such income,
        in acquisition of any interest in, or the establishment or operation
        of, any enterprise which is engaged in, or the activities of which
        affect, interstate or foreign commerce. A purchase of securities on
        the open market for purposes of investment, and without the intention
        of controlling or participating in the control of the issuer, or of
        assisting another to do so, shall not be unlawful under this
        subsection if the securities of the issuer held by the purchaser, the
        members of his immediate family, and his or their accomplices in any
        pattern or racketeering activity or the collection of an unlawful debt
        after such purchase do not amount in the aggregate to one percent of

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the    conspirator adopt the goal of furthering or facilitating the

criminal endeavor and may do so in any number of ways short of

agreeing to undertake all of the acts necessary for the crime's

completion. Id.

        The Fifth Circuit in Sutherland presented an in-depth analysis

of counting conspiracies that reviewed traditional conspiracy law,

including       the    “wheel”    and    “chain”          conspiracies,      and    the    RICO

“enterprise          conspiracy.”        656    F.2d       at    1189-1195.        The    wheel

conspiracy was explained by analysis of the Supreme Court’s decision

in United States v. Kotteakos, 328 U.S. 750 (1946), which alleged

a single conspiracy to obtain government loans by making fraudulent

representations. During the Kotteakos trial, the Government, by its

own admission,4 presented proof of multiple conspiracies with the

sole        common    element    being    one       man    who    directed     each      group.


        the outstanding securities of any one class, and do not confer, either
        in law or in fact, the power to elect one or more directors of the
        issuer.

        (b) It shall be unlawful for any person through a pattern of
        racketeering activity or through collection of an unlawful debt to
        acquire or maintain, directly or indirectly, any interest in or
        control of any enterprise which is engaged in, or the activities of
        which affect, interstate or foreign commerce.

        (c) It shall be unlawful for any person employed by or associated with
        any enterprise engaged in, or the activities of which affect,
        interstate or foreign commerce, to conduct or participate, directly or
        indirectly, in the conduct of such enterprise's affairs through a
        pattern of racketeering activity or collection of unlawful debt.

        (d) It shall be unlawful for any person to conspire to violate any of
        the provisions of subsection (a), (b), or (c) of this section.

        4
       Note that in Sutherland, the Government also admitted that it
introduced no evidence of a single conspiracy. 656 F.2d at 1190.

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Sutherland, 656 F.2d at 1189. The Supreme Court described the

multiple conspiracies pattern as “‘separate spokes meeting in a

common center’ but ‘without the rim of the wheel to enclose the

spokes.’” Id.     Sutherland involved two conspiracies whose common

participant was only Sutherland; the court noted, “‘If there is not

some interaction between those conspirators who form the spokes of

the wheel as to at least one common illegal object, the “wheel” is

incomplete, and two conspiracies rather than one are charged.’” Id.

at 1190 (quoting United States v. Levine, 546 F.2d 658, 663 (5th

Cir. 1977)).    Contrast this to the “chain” conspiracy, in which the

interdependent nature of the criminal enterprise is such that each

conspirator had to have realized that the conspiracy extended beyond

his individual role.

      Sutherland involved a municipal court judge and two other

defendants who allegedly collected traffic tickets along with the

amount of the statutory fine plus a small premium and delivered the

tickets to Sutherland, who would have the cases transferred to his

docket and favorably dispose of them. The money would then be split

between Sutherland and whichever defendant delivered the ticket.

The Government did not dispute the defendants’ claims that the two

persons delivering tickets to the judge did not know of one another.

 656 F.2d at 1186.    In fact, the Government, “by its own admission

. . . introduced no evidence of a single conspiracy but . . . rested

its case on two distinct multiple conspiracies.”               Id. at 1190.

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The     Government     defended     the    joint       trial    not    on   the    basis    of

traditional multiple conspiracy law but argued that the defendants

were properly tried together for a single “enterprise conspiracy”

under RICO, contending that “a single conspiracy to violate a

substantive         RICO   provision      may    be    comprised       of   a    pattern    of

agreements that absent RICO would constitute multiple conspiracies,”

regardless of whether there was any agreement between members of the

two separate conspiracies.5               Id. at 1191.

        The Fifth Circuit rejected the Government’s argument, finding

that RICO’s expansion did not do away with a finding of agreement

but that it “provide[d] a new criminal objective by defining a new

substantive crime.”           Id. at 1192.            The court explained that what

tied        together   a   series   of    agreements         that     pre-RICO    would     be

considered multiple conspiracies “is not the mere fact that they

involve       the   same   enterprise,      but       is   instead     as   in    any   other

conspiracy an ‘agreement on an overall objective.’” Id. at 1192-93.

The court further commented, “Taken to its logical extreme, a rule

allowing the joint trial of otherwise unrelated conspiracies solely


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         The Government’s argument continued:

        [T]hese otherwise multiple conspiracies are tied together by the RICO
        “enterprise:” so long as the object of each conspiracy is
        participation in the same enterprise in violation of RICO, it matters
        not that the different conspiracies are otherwise unrelated. Thus,
        the government argue[d] that it need not demonstrate any connection
        between [the defendants delivering the tickets]      because the two
        conspiracies at issue each involved the same RICO enterprise the
        Municipal Court of the City of El Paso.
Id.

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on the basis of their relationship to a common enterprise the rule

which the government advocates in this case leads to ridiculous

results.”    Id. at 1194.       The Fifth Circuit summed up the rule of

RICO and multiple conspiracies as follows:

      (1) a pattern of agreements that absent RICO would
      constitute multiple conspiracies may be joined under a
      single RICO conspiracy count if the defendants have agreed
      to commit a substantive RICO offense; and (2) such an
      agreement to violate RICO may, as in the case of a
      traditional “chain” or “wheel” conspiracy, be established
      on circumstantial evidence, i.e., evidence that the nature
      of the conspiracy is such that each defendant must
      necessarily have known that others were also conspiring
      to violate RICO.

Id. at 1194.6

     Finally, a finding that the evidence shows one or multiple


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       The Fifth Circuit’s analysis of this issue centered largely on
clarifying an earlier ruling, United States v. Elliott, 571 F.2d 880 (5th
Cir.1978), cert. denied, 439 U.S. 953 (1978), which the Government relied upon
for its contention that no agreement between members of the separate
conspiracies was necessary under RICO. The court found in Elliott that a
series of agreements that pre-RICO would have constituted multiple
conspiracies could be tried as a single RICO “enterprise” conspiracy. Id. at
1192. The court noted however that this finding rested in large part upon
proof of a traditional chain conspiracy in which each defendant must
necessarily have known that others were also conspiring to participate. Id.
at 1193. The court provided the following analysis:

      To be sure, the government did not prove in Elliott that each of the
      conspirators had explicitly agreed with all of the others to violate
      the substantive RICO provision at issue. However, the government did
      prove that, as in a traditional “chain” conspiracy, the nature of the
      scheme was such that each defendant must necessarily have known that
      others were also conspiring to participate in the same enterprise
      through a pattern of racketeering activity. We found the facts
      sufficient to demonstrate that the defendants knew they were
      “directly involved in an enterprise whose purpose was to profit from
      crime,” and that each knew “that the enterprise was bigger than his
      role in it, and that others unknown to him were participating in its
      affairs.” The agreement among all of the defendants in Elliott was
      an implicit one, but it was an agreement nonetheless.

Id. (citations omitted).

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conspiracies is a question of fact for the jury.             United States v.

Morgan, 117 F.3d 849, 858 (5th Cir. 1997).            A defendant can raise

the claim of multiple conspiracies as a defense and request the

appropriate jury instruction.         United States v. Stowell, 947 F.2d

1251, 1258 (5th Cir. 1991), cert. denied, 112 S.Ct. 1269 (1992).

“If the government sufficiently supports its charge of a single

conspiracy, evidence at trial of multiple conspiracies does not of

itself create a material variance with the indictment; at most, such

evidence creates a fact question and entitles the defendants to a

jury instruction on the possibility of multiple conspiracies.”

United States v. Barraza, 853 F.2d 288, 291 (quoting United States

v. Sutherland, 656 F.2d 1181, 1189 n.5 (5th Cir. 1981), cert.

denied, 455 U.S. 949 (1982)).7

       The Third Superceding Indictment appears to satisfy the

Richerson and Pena-Rodriguez requirements of common goal, nature of

the scheme, and overlapping participants. The indictment alleges

that the Defendants had a common goal of personal enrichment through

the misuse of their non-profits and political offices through fraud

in, theft from, and graft involving the receipt of grant funds and

property from the State of Louisiana, the United States of America,

the City of New Orleans, and private donors. Each of the defendants

      7
        The Fifth Circuit in United States v. Barraza found that in a 17 week
trial with 159 witness and 21 defendants and six days of jury deliberation,
that the multiple conspiracy issue was resolved when the jury delivered its
verdict, which acquitted seven defendants on all counts and found six
defendants not guilty as to the conspiracy to commit racketeering count.

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allegedly directed his and her efforts towards the common goal of

personal gain through the use of the non-profit entities and

political office, which exemplifies a single conspiracy.

        The common objective of personal enrichment tends to show the

commonality     of    purpose     for   the   existence     of   the    non-profits

themselves, and the singular nature of the conspiracy.                   The common

goal alleged is “personal financial and political gain,” which is

analogous to the goals of “personal gain” and “mutual enrichment”

previously upheld by the Fifth Circuit.             See Richerson, 833 F.2d at

1153.

        In United States v. Wilson, 116 F.3d 1066, 1075 (5 Cir. 1997)

the     court   examined    the     “degree    of     interdependence        of   the

actions...that is, whether the activities of one aspect of the

scheme are necessary or advantageous to the success of another

aspect of the scheme.”       The Fifth Circuit has also found that there

is no requirement that every member must participate in ever

transaction to find a single conspiracy.               United States v. Perez,

389 F.2d at 62. The Government alleges that the evidence suggests

an interdependence of action that indicates an order of involvement

in the common goal of personal enrichment through the use of grant

funds and property obtained through the various non-profits.

        The alleged composition of the enterprise-in-fact and the

various     actions    of   its    participants       appear     to    satisfy    the

overlapping participants requirement.               As the Grand Jury Found in

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the Third Superseding Indictment, while there were many people

involved   in   the   alleged   conspiratorial      scheme,       the    four   mail

participants were allegedly Renee Gill Pratt, Mose Jefferson, Betty

Jefferson, and Angela Coleman.       To varying degrees others allegedly

benefitted, but the charged Defendants allegedly constitute the

architects, planners and executors of the scheme.                        The Third

Superseding Indictment alleges one RICO conspiracy in Count 1.                  The

question of multiple conspiracies is a fact question for the jury,

and Defendants can request an appropriate jury charge.                  As noted in

Sharpe, any possible prejudice can be prevented by limiting jury

instructions, careful and deliberate evidentiary rulings, and the

requirement of a unanimous verdict.            United States v. Sharpe, 193

F.3d 852, 870 (5th Cir. 1999).



     New Orleans, Louisiana, this 25th day of August, 2010.




                                          ________________________________
                                           UNITED STATES DISTRICT JUDGE




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